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            EXHIBIT B
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                                                                                Page 1
                         UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION
        ____________________________
        RICHARD KADREY, et al.,                 )
                                                )
                      Individual and            )
                      Representative            )
                      Plaintiffs,               )
                                                )
        v.                                      )     Case No. 3:23-cv-03417-VC
                                                )
        META PLATFORMS, INC.,                   )
                                                )
                      Defendant.                )
        ____________________________)


            ** CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER **
             Videotaped Deposition of meta Platforms, Inc.
                  by and through its corporate designee
                                    SY CHOUDHURY
                           San Francisco, California
                           Thursday, December 5, 2024


                         Reported Stenographically by
                  Michael P. Hensley, RDR, CSR No. 14114
        ____________________________________________________
                             DIGITAL EVIDENCE GROUP
                        1730 M. Street, NW, Suite 812
                             Washington, D.C. 20036
                                   (202) 232-0646



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                                                                              Page 18
   1                    THE WITNESS:         Yeah.      So in early April

   2     there was a pause on licensing certain categories of

   3     data that included the text data -- some of the text

   4     data categories.

   5     BY ATTORNEY PRITT:

   6            Q.      And what text categories did that include?

   7            A.      That included fiction books, nonfiction

   8     books, and coding.

   9            Q.      Any other categories?

 10             A.      No.     Those are the three that we decided

 11      to pause on.

 12             Q.      And what are the data categories that

 13      you -- that Meta decided not to pause on in early

 14      April 2023?

 15             A.      While we did not have an explicit

 16      discussion or decision to not pause, the data

 17      categories that -- the other data categories that we

 18      were continuing to explore included images, videos,

 19      and 3D objects.

 20             Q.      And why did Meta decide to pause its

 21      licensing process for acquiring fiction books,

 22      nonfiction books, and coding data for its LLMs in



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                                                                              Page 19
   1     early April 2023?

   2                    ATTORNEY HARTNETT:            And I would just

   3     object to the extent that you need to respond with

   4     attorney-client privilege, please exclude that from

   5     your answer.         If you can respond without reference

   6     to that, you can answer.

   7                    THE WITNESS:         There was a meeting I had

   8     with my boss, Marc Shedroff, and our attorney,

   9     Natascha Parks, and the content of the meeting is

 10      under attorney-client privilege.

 11                     All I can say is that we considered and

 12      discussed a variety of factors and agreed that the

 13      decision would be to pause on those three

 14      categories.

 15      BY ATTORNEY PRITT:

 16             Q.      Now, were there any business reasons for

 17      deciding to pause the licensing process for

 18      acquiring fiction books, nonfiction books, and

 19      coding data for use in Meta's LLMs, at that time?

 20                     ATTORNEY HARTNETT:            And I would just have

 21      the same objection and instruction.                    You can answer

 22      if there's a nonprivileged information you can



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                                                                              Page 20
   1     provide.

   2                    THE WITNESS:         There's only privileged

   3     information in that meeting, and so I'm not able to

   4     talk further about that.

   5     BY ATTORNEY PRITT:

   6            Q.      Okay.      So to clarify, it's Meta's

   7     testimony that there were no business reasons for

   8     deciding to pause the licensing process for

   9     acquiring fiction books, nonfiction books, and

 10      coding data for use in Meta's LLMs in early

 11      April 2023; is that correct?

 12                     ATTORNEY HARTNETT:            Objection to the form.

 13                     Misstates his testimony.

 14                     I -- if you can answer as to whether there

 15      are business reasons that don't entail conveying

 16      legal advice, you may answer.                  If not, I instruct

 17      you not to answer.

 18                     THE WITNESS:         The -- although this is not

 19      comprehensive, the coding and textbook categories do

 20      not -- do not apply to the one, I'll say, business

 21      reason.

 22                     I'd like to point out that the -- in the



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                                                                              Page 26
   1     of licensing that data for use in its LLMs?

   2            A.      That's correct.

   3            Q.      And when we're referring to the April 2023

   4     data point, did the engineering and product teams

   5     ask the business development team to stop its

   6     licensing efforts for fiction and nonfiction books

   7     and code for use in Meta's LLMs?

   8            A.      No.     That decision was -- had engineering

   9     and products's input, but that was part of the

 10      meeting that I'm telling -- that I mentioned that

 11      was attorney-client privileged.

 12             Q.      And what was engineering and products's

 13      input?

 14             A.      I was not aware of what -- they did not

 15      provide that input to me.                They provided that input

 16      directly to Marc Shedroff, my boss.

 17             Q.      Did he tell you what that input was?

 18             A.      That is under attorney-client privilege as

 19      we had that discussion there.

 20             Q.      Is Marc Shedroff a lawyer?

 21             A.      No.

 22             Q.      Okay.      So I'm going to ask again.                What



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                                                                              Page 27
   1     did Marc Shedroff tell you was engineering and

   2     product -- the engineering and product teams's

   3     input?

   4                    ATTORNEY HARTNETT:            And I would just ask

   5     the witness, to the extent that Mr. Shedroff learned

   6     that in a meeting with the engineering team and

   7     counsel, and the extent that there was

   8     attorney-client privilege involved in how

   9     Mr. Shedroff conveyed that to you, you can exclude

 10      that from your answer.

 11                     If you know information that Mr. Shedroff

 12      had from the engineering team that is not covered by

 13      attorney-client privilege, you can answer with that.

 14                     THE WITNESS:         My understanding was that

 15      Mr. Shedroff was in a meeting with -- with attorneys

 16      and asking for their advice and also with -- with

 17      attorney-client privilege.

 18      BY ATTORNEY PRITT:

 19             Q.      So is your testimony that the input that

 20      Mr. Shedroff received from the engineering and

 21      product teams related to the April 2023 decision to

 22      pause licensing, there was -- that input was legal



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                                                                              Page 28
   1     advice?

   2                    ATTORNEY HARTNETT:            Objection to the form.

   3                    I think it misstates his testimony.

   4                    To the extent he's in a -- he's conveying

   5     information that he learned from his boss that was

   6     part of a privileged conversation between his boss,

   7     counsel, and the engineers.

   8                    Our position is that he has to figure out

   9     whether or not he is conveying information that

 10      Mr. Shedroff learned from the engineers separate

 11      from the legal advice that was being given in that

 12      meeting.

 13                     So I'm asking him to try and separate that

 14      and convey anything that was not infused with legal

 15      advice.      And you can answer.

 16                     THE WITNESS:         The meetings that Mark had

 17      was -- with engineers was infused with legal advice.

 18      And when we -- Mark and myself and Natasha were

 19      discussing all the pros and cons, we -- and all the

 20      facets before we made the decision that was also

 21      with discussing both the, as we talked about, the

 22      business and the legal aspects of a decision before



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                                                                              Page 29
   1     we decided to pause.

   2     BY ATTORNEY PRITT:

   3            Q.      Okay.      So I just want to get clear on the

   4     record.      Your understanding is that the engineering

   5     and product teams input into the decision whether or

   6     not to pause licensing efforts in April 2023 that

   7     we've discussed, all of that involved legal advice?

   8                    ATTORNEY HARTNETT:            Objection to the form.

   9                    You should testify only based on what you

 10      know, but you should testify on what you know.

 11      BY ATTORNEY PRITT:

 12             Q.      Correct.       I asked for your understanding.

 13             A.      Sorry?

 14             Q.      I asked for your understanding.

 15             A.      Yeah.      My understanding is that when Marc

 16      had the discussion with engineering and product,

 17      that also included legal and legal advice, yes.

 18             Q.      Okay.      But you're also testifying on

 19      behalf of Meta at this time; so it Meta's position

 20      that the input provided by the product and

 21      engineering teams into the decision to pause

 22      licensing efforts in April 2023 is completely



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